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_________________________________________________________________________________

                                                SO ORDERED,



                                                Judge Jason D. Woodard
                                                United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________
                   UNITED STATES BANKRUPTCY COURT
                   NORTHERN DISTRICT OF MISSISSIPPI

In re:                                           )
                                                 )
         MICHAEL SHELTON SMITH,                  )        Case No.:        15-13625-JDW
                                                 )
              Debtor.                            )        Chapter          7


         BOBBIE CHANCE ROBINSON        )
         & COMMERCIAL GRAIN            )
         MARKETING, LLC,               )
                                       )
           Plaintiff                   )
                                       )
v.                                     )    A.P. No.: 16-01033-JDW
                                       )
      MICHAEL SHELTON SMITH,           )
                                       )
           Defendant.                  )
______________________________________________________________________

    ORDER DENYING DEBTOR’S MOTION FOR SUMMARY JUDGMENT
                       (A.P. DKT. # 40)

         This case is before the Court on the Amended Motion for Summary

Judgment (the “Motion”)(A.P. Dkt. # 40)1 filed by Debtor-Defendant Michael


1Citations to the docket in the main bankruptcy case will be to “Bankr. Dkt.” Citations to
the docket in the adversary proceeding will be to “A.P. Dkt.”


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Shelton Smith (the “Debtor”). A brief was filed in support of the Motion (A.P.

Dkt. # 39). A Response to the Motion (the “Response”)(A.P. Dkt. # 50) was

filed by Bobbie Chance Robinson (“Robinson”) and Commercial Grain

Marketing, LLC (“CGM”)(together with Robinson, the “Plaintiffs”) with a

brief in support of the Response (A.P. Dkt. # 52).

      The Debtor filed his voluntary chapter 7 bankruptcy petition on

October 11, 2015 (Bankr. Dkt. # 1). The Plaintiffs filed the complaint against

the Debtor on March 18, 2016 (the “Complaint”)(A.P. Dkt. # 1).                      The

Complaint contains four counts. In Count I, Robinson alleges that a debt

owed to him by the Debtor should be excepted from discharge under 11

U.S.C. § 523(a)(2)(A).2 In Counts II and III, both Plaintiffs allege that debts

owed to them by the Debtor are nondischargeable under §§ 523(a)(4) and

523(a)(6). Finally, in Count IV, the Plaintiffs allege that the Debtor’s general

chapter 7 discharge should be denied under § 727(a)(5).

      The Debtor’s Motion seeks summary judgment not on the merits of the

individual claims, but rather on threshold issues. First, the Debtor claims he

is entitled to summary judgment on all counts as to Robinson, because the

Debtor alleges that he does not owe any money to Robinson, as the debts at

issue were owed to Robinson by CGM and not the Debtor individually. The



2
 Unless otherwise noted, all statutory citations are to Title 11, United States Code (the
“Bankruptcy Code”).


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Debtor also seeks summary judgment on all counts as to CGM, alleging that

CGM did not have the requisite corporate authority to file and maintain this

adversary proceeding against the Debtor.

      No hearing on the Motion is necessary. The Court has considered the

pleadings, briefs, evidentiary submissions, and the law, and finds and

concludes that the Motion is due to be denied.

                                I.    JURISDICTION

      This Court has jurisdiction pursuant to 28 U.S.C. §§ 151, 157(a) and

1334(b), and the United States District Court for the Northern District of

Mississippi’s Order of Reference of Bankruptcy Cases and Proceedings Nunc

Pro Tunc Dated August 6, 1984. This is a core proceeding arising under Title

11 of the United States Code as defined in 28 U.S.C. § 157(b)(2)(A), (B), (I),

(J) and (O).

                    II.   SUMMARY JUDGMENT STANDARD

      A party is entitled to summary judgment “if the pleadings, depositions,

answers to interrogatories, and admissions on file, together with the

affidavits, if any, show that there is no genuine issue as to any material fact

and that the moving party is entitled to a judgment as a matter of law.”

Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986)(quoting former FED. R. CIV.

P. 56(c)); Moore v. Willis Indep. Sch. Dist., 233 F.3d 871, 874 (5th Cir. 2000);




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see also FED. R. CIV. P. 56(c)(1).3 When considering a motion for summary

judgment, the Court must consider all the evidentiary matters with which it

is presented, including, inter alia, admissions in pleadings, answers to

interrogatories, depositions and affidavits. Collins v. Jackson Public School

Dist., 609 Fed.Appx. 792, 795-96 (5th Cir. 2015).

      The    party    seeking    summary      judgment     bears    the   burden    of

demonstrating to the court the absence of a genuine issue of material fact.

Celotex, 477 U.S. at 323. “As to materiality, the Supreme Court has stated

that ‘[o]nly disputes over facts that might affect the outcome of the suit under

the governing law will properly preclude the entry of summary judgment.’”

St. Amant v. Benoit, 806 F.2d 1294, 1297 (5th Cir. 1987)(quoting Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). All reasonable doubt as to the

existence of a genuine issue of material fact “must be resolved against the

moving party.” Kennett-Murray Corp. v. Bone, 622 F.2d 887, 892 (5th Cir.

1980)(quoting Keiser v. Coliseum Properties, Inc., 614 F.2d 406, 410 (5th Cir.

1980)).

      If the movant meets its initial burden of proof, then the burden shifts to

the non-movant to “go beyond the pleadings and by . . . affidavits, or by the

‘depositions, answers to interrogatories, and admissions on file,’ designate


3Federal Rule of Bankruptcy Procedure 7056 incorporates without modification Rule 56 of
the Federal Rules of Civil Procedure.



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‘specific facts showing that there is a genuine issue for trial.’” Celotex, 477

U.S. at 325 (internal quotations omitted). If no genuine issue of material fact

exists, the moving party is entitled to judgment as a matter of law.

                              III.     FACTUAL BACKGROUND4

      CGM is a limited liability company, organized and operating and in

good standing under the laws of the State of Mississippi. CGM’s operations

consisted of purchasing, storing and drying grain, then selling the grain to a

third-party purchaser. Both the Debtor and Robinson are members of CGM,

along with two other individuals. Each of the four members holds a 25%

share of CGM, with each member also holding equal voting rights.

      The Plaintiffs allege that the Debtor was primarily responsible for the

day-to-day bookkeeping and financial management of CGM. The Plaintiffs

further    contend     that      in     managing       CGM’s     finances,   the    Debtor

misappropriated CGM’s funds and invested CGM’s funds in ways that

violated    the   members’           unwritten       agreement   regarding   appropriate

investments. In addition, the Plaintiffs allege that two loans Robinson made

to CGM pre-petition – one for $900,000 in April 2014 and another for

$311,000 in January 2015—were made based on Robinson’s reliance on the

Debtor’s fraudulent representations. Neither loan has been repaid. Although


4
 This order contains the Court’s findings of fact and conclusions of law pursuant to Rules
9014 and 7052 of the Federal Rules of Bankruptcy Procedure. To the extent any finding of
fact is construed to be a conclusion of law, or vice versa, it is adopted as such.


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Robinson made the loans to CGM and not to the Debtor individually, the

loans were made to CGM at the request of the Debtor based on the Debtor’s

(allegedly fraudulent) representations to Robinson.

      There is no dispute as to the validity of CGM’s Operating Agreement,

which was attached as an exhibit to the Motion. The Operating Agreement

provides that “[a]ll decisions . . . will be made based on a majority percent of

ownership.” The Complaint was filed on March 18, 2016. The parties agree

that when the Complaint was filed, it had not been duly authorized by CGM

as required by Mississippi law and CGM’s organizational documents.            By

October 4, 2016, 75% of the ownership interests voted to ratify the filing and

continuance of this adversary proceeding via email. On March 15, 2017, the

filing and continuance of this adversary proceeding was formally ratified and

approved by the same 75% of the ownership interests (with every member

except the Debtor voting to ratify).

      The Debtor agrees that corporate authority and ratification was

obtained on March 15, 2017, approximately one year after this adversary

proceeding was filed. The parties disagree as to whether the ratification was

effective.




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                              IV.    CONCLUSIONS OF LAW

       A. Corporate Authority

       The Debtor argues that because this adversary proceeding was filed on

behalf of CGM without prior, official corporate authority, the Court lacks

subject-matter jurisdiction over the claims of CGM, and CGM’s claims must

be dismissed.      See In re Mid-South Business Assocs., LLC, 555 B.R. 565

(Bankr. N.D. Miss. 2016). The Debtor acknowledges that the filing of the

adversary proceeding was subsequently authorized by a majority vote of

CGM’s members in accordance with the laws and documents governing

CGM’s operations. The Debtor relies on this Court’s decision in Mid-South

(and the cases cited therein) in arguing that CGM’s subsequent ratification of

the filing of the Complaint was ineffective.

       In Mid-South, this Court did indeed state that “[i]n Price, the Supreme

Court held that if the trial court ‘finds that those who purport to act on behalf

of a corporation have not been granted authority by local law to institute the

proceedings, it has no alternative but to dismiss the petition.’” Mid-South,

555 B.R. at 570 (citing Price v. Gurney, 324 U.S. 100, 106 (1945)).                     The

material difference is that the Court in Mid-South had no reason to consider

whether ratification was possible under Mississippi law.5 Ratification is an


5 The Plaintiffs point out in their brief that Mid-South dealt with the filing of a chapter 7
bankruptcy case on behalf of an LLC, and not the filing of an adversary proceeding, noting
that the authority to file a bankruptcy petition is “arguably of greater magnitude than the


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issue in this case, and the Court concludes that CGM’s ratification of the

filing of the Complaint was effective and relates back to the filing date of this

adversary proceeding.

       The law of the state in which a business entity is organized applies to

determine whether an action is filed with proper corporate authority.6 In re

Wyatt & McAlister, PLLC, 2010 WL 1709920, *6 (Bankr. S.D. Miss., April 23,

2010)(citation omitted).       CGM is a limited liability company organized in

Mississippi, so Mississippi corporate law applies. Id. While corporations and

LLCs are different legal entities, LLCs are generally treated as corporations

under the Bankruptcy Code. Id. at *3 (citing 11 U.S.C. § 101(9)(A)(ii)). An

LLC’s operating agreement generally controls the operation and authority of

an LLC, and an operating agreement is a contract, subject to contract law.

Bluewater Logistics, LLC v. Williford, 55 So.3d 148, 159 (Miss. 2011).

       Mississippi limited liability companies are separate legal entities from

their members, and thus generally may sue and be sued in their own names.

authority necessary to file an adversary proceeding.” The Court need not address whether
or not this distinction makes a difference, because it did not address ratification in Mid-
South. In Mid-South, the filing of the petition was never ratified by a vote of the requisite
ownership interests. Mid-South, 555 B.R. at 578 n.11 (. . . even if the lack of authority at
the outset of the case could be “cured” by the later consent of the equity owners of the
Debtor, such consent does not exist in this case.”).

6 The Court notes that the determination of which state’s law applies to the determination
of corporate authority is different from the determination of a limited liability company’s
citizenship for purposes of ascertaining whether a court has federal diversity jurisdiction
over a case. Each LLC member’s individual citizenship is considered when determining
whether diversity jurisdiction exists. Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077, 1079
(5th Cir. 2008)(citations omitted).


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See, e.g., Restaurant of Hattiesburg, LLC v. Hotel & Restaurant Supply, Inc.,

84 So.3d 32 (Miss.Ct.App. 2012).     The type of corporate authority required to

bring an action is governed by the applicable operating agreement and the

Revised Limited Liability Company Act. See Bluewater Logistics, LLC v.

Williford, 55 So.3d 148, 459 (Miss. 2011)(providing that an LLC operating

agreement is a contract, subject to contract law). Under the terms of CGM’s

LLC Operating Agreement (Amended), dated August 14, 2013 (the

“Operating Agreement”), a majority vote of CGM’s ownership interests was

required for any action to be taken on behalf of CGM. A majority vote was

thus necessary for a complaint to be filed on CGM’s behalf.

      Under Mississippi law, shareholders (or members) are permitted to

ratify a corporation’s past actions. Keene v. Brookhaven Academy, Inc., 28

So.3d 1285, 1289 (Miss. 2010). The ratification relates back to the date of the

corporate action being ratified. Jowett v. Scruggs, 901 So.2d 638, 644 (Miss.

Ct. App. 2004). See also Kirk v. Pope, 973 So.2d 981 (Miss. 2001)(holding

that the ratification by a real party in interest has the same effect as if the

action had been commenced by the proper party in the first place); Planters’

Bank v. Sharp, 4 Smedes & M. 75, 82-83 (Miss. 1844)(holding that an

unauthorized act of an agent of a corporation, if subsequently ratified, has

the same binding effect as though it had been previously authorized).




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Accordingly, CGM’s ratification of the filing of this adversary proceeding

relates back to the date of the Complaint.

       The parties agree that the Complaint was ratified by a vote of the

membership interests that would have been sufficient to authorize the

Complaint had the authority been granted before the Complaint was filed.

Under Mississippi law, that subsequent ratification relates back to the date

of the filing of the Complaint, and it is treated as if it was authorized from

the beginning.7

       B. Robinson as a Plaintiff

       The Debtor argues that because the loans made by Robinson were to

CGM and not to him individually, the Debtor does not personally owe a debt

to either CGM or Robinson. This argument ignores the Plaintiffs’ allegations

of individual financial misconduct and breach of fiduciary duty on the part of

the Debtor. An officer or employee who misappropriates company property or

otherwise embezzles or steals from a company (or from another individual) is

personally liable for the damages caused by his misappropriation. Int’l Order

of Twelve, Knights & Daughters of Tabor v. Marshall, 195 So.2d 66 (Miss.

1967). Members of an LLC have a fiduciary duty to each other and to the

LLC. Knights’ Piping, Inc. v. Knight, 123 So.3d 451 (Miss. Ct. App. 2012). A

7 This is distinguishable from the well-settled principle that constitutional standing issues,
such as diversity of parties, cannot be cured through subsequent changes in circumstances
(other than the dismissal of a non-diverse party). Grupo Dataflux v. Atlas Global Group,
L.P., 541 U.S. 567 (2004).


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member cannot hide behind corporate form to escape liability for damages

intentionally caused by him individually or as a fiduciary. See, e.g., U.S. v.

Bestfoods, 524 U.S. 51, 62 (1998).

      Robinson has alleged that he was individually damaged by the Debtor’s

fraudulent misrepresentations and violation of his fiduciary duties.            In

Mississippi, a shareholder or member may bring an action in his own name

when he has suffered an individual injury that is distinct from the alleged

injury to the company.    Holloway v. Dane, 316 B.R. 876, 880 (S.D. Miss.

2004). In addition to being a member of CGM, Robinson is also a lender of

funds that he alleges the Debtor fraudulently induced him to loan.            The

alleged injury he suffered, then, is separate than any injury the company

suffered or any injury to him based solely on his ownership of 25% of CGM.

Accordingly, issues of material fact remain as to the Debtor’s liability towards

Robinson, individually, and whether any such liabilities are dischargeable.

Summary judgment is therefore not appropriate as to Robinson’s claims.

                                V. CONCLUSION

      The subsequent ratification of the filing of the Complaint by a majority

of CGM’s members was effective. Robinson asserts individual claims against

the Debtor, which are distinguishable from CGM’s claims.             The Court’s

conclusions herein resolve only these threshold issues raised in the Motion.




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Summary judgment is due to be denied and this adversary proceeding shall

proceed to a trial on the merits. Accordingly, it is hereby

      ORDERED, ADJUDGED and DECREED that the Debtor’s Motion is

DENIED. This adversary proceeding will be set for a status conference by

separate order.

                             ##END OF ORDER##




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